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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK
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CARLOS A. SANTIAGO,
                                                               NOTICE OF MOTION
                                    Plaintiff,
               v.                                              Case No. 14-CV-6719 (FPG)(JWF)

OFFICER SHAWN JORDAN and RN JEANANNE
ODELL,

                           Defendants.
______________________________________________

        Defendant Shawn Jordan moves this Court pursuant to FRCP 12(c) for judgment on the

pleadings on the grounds that defendant Jordan was not timely served with process and is not

subject to the personal jurisdiction of this court.

        In support of this motion the Court is referred to the Declaration of Patrick Beath, Esq.,

and exhibits thereto, along with the Memorandum of Law, all submitted herewith and made part

of this motion. Defendant Jordan reserves the right to file a reply memorandum of law within 14

days of plaintiff’s filing of any opposition to this motion.


DATED: December 19, 2017                         BRIAN F. CURRAN, CORPORATION COUNSEL

                                                        /S/Patrick Beath
                                        BY:      PATRICK BEATH, ESQ, of Counsel
                                                 Attorneys for Defendants
                                                 30 Church Street, Room 400A
                                                 Rochester, New York 14614
                                                 (585) 428-6812


To:     THE PARRINELLO LAW FIRM, LLP
        John R. Parrinello
        Attorneys for Plaintiff
        36 West Main Street, Suite 400
        Rochester, New York 14614
